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                EXHIBIT 45
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   From: Walker, Donald
   Sent: Thursday, February 23, 2012 11:52 AM
   To: barbara.j.boockholdt@usdoj.gov
   Cc: Trugman, Ina; John A. Gilbert, Jr.
   Subject: January 26 meeting Follow-up


   Dear Ms. Boockholdt:

   Thank you again for the opportunity to meet with us so that we could discuss our Controlled Substance Monitoring
   Program and other compliance actions we have taken to reduce potential for diversion. I wanted to provide you
   with some additional information on topics we discussed at our January 26th meeting.

   Follow up items:

       1. You indicated that DEA had received only two suspicious order reports from McKesson during the time
          since our May 2008 settlement agreement. I have attached a summary document that lists customers
          (registrants) that McKesson identified as suspicious and reported to DEA. I have also identified several
          potential customers that through our diligence we chose not to conduct business with due to regulatory
          concerns.

       2. l did discover a breakdown in the electronic reporting process we mutually established as required under the
          Memorandum of Agreement. The error was caused by electronicaUy omitted orders. In several cases there
          were no omitted orders to transmit to the DEA. We did notify the local office but did not send a transmission
          to DEA headquarters.

   To remedy this McKesson will back-up the transmissions and provide written notifications to your office, the local
   DEA office and the area DPM. I have also asked my IT team to contact the DEA IT to validate the systemic
   notification process.

      3. I have confirmed that McKesson transmits ARCOS reports monthly.
      4. At the close of the meeting we reported to you the systems issue that resulted in archived CSOS C-II orders
         being released, filled and shipped. We have accounted for all product and either received a Form 222 from
         the customer or the product was returned to McKesson. We are in the process of conducting and compiling a
         detailed reconciliation, which when complete wilJ be forwarded to Kyle Wright. We have verbally notified
         all field offices with responsibility for the impacted distribution centers, and in some instances have provided
         written notifications per their request.
      5. As a result of our discussion, we initiated an updated review of all of chain drug pharmacies and worked with
         the appropriate representatives to reduce authorized purchase limits on Oxycodone similar to the actions we
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               took with independents. Mcitesson also significantly reduced our thr~fl'old limits on independent
               pharmacies in the Delaware, Maryland, New Jersey and New York areas aligning with what the Company
               had already done in Florida.



   In the future, 1plan to communicate with you as needed via email (per your suggestion) to update you on actions
   and activities associated v.ith our controlled substance monitoring. These communications will supplement
   McKesson's suspicious order reporting.



   On behalf of McKesson, I want to assure you that the Company is taking the concerns expressed by you and your
   colleagues at the meeting very seriously and have put numerous actions in place to address them.



   Thank you for your time and please email or call me with any questions.




   Don Walker

   SVP Distribution Operntions

   McKesson Pharmaceutical

   415-983-9060




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                   '-                          r 'l-   Ceased Se'iilng _Controls - Reported as Suspicious               ...
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                                                                                                                              Date of Action
                              Customer Name                  DEA-#                 City                  State                      (e~ter -a~
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                                                                                                        -·-                   mrr\/dd/Ww)
                   D&S Pharmacy                           FD0127995         Woodhaven             Ml                            04/14/2010
                   Gwins Phcy                             AG6027913         Anderson              IN                                8/28/11
                   Laabs Pharmacy                         AL3934014         Milwaulkee            WI                                9/30/11
                   Mykals Discount Phcy                   FM1772739         Detroit               Ml                            01/28/2011
                   Mykals Discount Phcy #2                FM2299887         Detroit               Ml                            01/27/2011
                   Sav Max Pharmacy                       889578519          Detroit              Ml                            10/05/201 0
                   Six Mile Pharmacy                      FS2233447         Detroit               Ml                                Feb-'09
                   The Medicine Shoppe                    BR7456040         Belton                MO                                 3/1/08
                   Rockville Pharmacy                     FR1486340         Rockville             MD
                   Advanced Doctors
                   Prescription Pharmacy                  FA0408167         San Antonio           TX                                  Aug-'08
                   Generic Rx                             FG1524657         Ft. Lauderdale        FL                                  11m11
                   Live and Let Live                      AL0210168         Miami                 FL                                  11m11
                   McGee's Pharmacy                       BM7522837         Baton Rouge           LA                                   Jul-'11
                   Medical Plaza Pharmacy                 AJ2074615         North Charleston      SC                                  May-'10
                   Medical Plaza Pharmacy of I            FM1239183         Plantation            FL                                  11m11
                   Modern Drug of Bayou Le
                   Batre                                  BM2472570         Bayou Le Batre        AL                                   Feb-'09
                   Rodgersv1lle Discount
                   Pharmacy                               BR2913108         Rodgersville          AL                                    Jul-'11
                   Century Plaza                          BC9434046         Honolulu              HI                                   3127/09
                   Drug Depot                             FD2356245         SoCal                 CA                                    8/1/11
                   Estrella Pharmacy                      BE9738026         Phoenix               AZ.                                  9/30/11
                   Express Pharmacy *                     FE1766609         Bakersfield           CA                                   1212/11
                   NuCare                                 RN0272322         SoCal                 CA                                   11/1/10
                   Wellcare II                            FW1294898         Las Vegas             NV                                   10/1/11
                   Castle Hill Drugs, Inc                 FC0861345         Bronx                 NY                                   11/8/11
                   Herndon Pharmacy & Medic               FH2358275         Herndon               VA                                   11 /9/1 1
                   Life Pharmacy                          FL1001077         New York              NY                                    1/3/12
                   Accokeek Pharmacy                      BA6800216         Accokeek              MD                                   1/12/12
                   Family Meds Pharmacy                   FF1958719         Waldorf               MD                                   1/13/12
                   Renaissance Pharmacy                   FR0704040         Claymont              DE                                    219109
                   Northeast Pharmacy                     FN0841418         Philadelphia          PA                                    1/8/00
                   ATA Pharmacy                           FA0689541         Philadelphia          PA
                   Just Here Pharmacy                     FJ1209724         Philadelphia          PA
                   Lansdowne Pharmacy                     FL0306414         Lansdowne             VA                                   7/15/08
                   Rockville Pharmacy                     FR1486340         Rockville             MD                                   3/10/10
                   Castle Hill Drugs, Inc                 FC0861345         New York              NY                                   11/8/12

                        •Customer corrected processes and we resumed selling controlled substances at minimum levels. Local
                                                           office notified of this action.




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